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                    IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

   ZDENEK BAKALA,                                   )      C/A No. 9:18-cv-2590 DCN
                                                    )
                                   Plaintiff,       )      RICO CASE ORDER
                                                    )
                   vs.                              )
                                                    )
   PAVOL KRUPA; ADAM SWART; and                     )
   CROWDS ON DEMAND,                                )
                                                    )
                                   Defendants.      )
                                                    )

           The above action purports to state a civil claim for violation of the Racketeer

   Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C. § 1961 et seq. The statute

   allows a person injured by a violation of the act to maintain an action against the violators

   pursuant to 18 U.S.C. § 1964(c). This order has been designed to establish a uniform and

   efficient procedure for processing this claim.

           The plaintiff shall file a RICO CASE STATEMENT within 30 days of the date of

   this order. This statement shall include the facts the plaintiff is relying upon to initiate this

   RICO complaint as a result of the "reasonable inquiry" required by Fed. R. Civ. P. 11. In

   particular, this statement shall be in a form which uses the numbers and letters as set forth

   below,1 and shall state in detail and with specificity the following information:

           1.      State whether the alleged unlawful conduct is in violation of 18 U.S.C. §§

                   1962(a), (b), (c), and/or (d).




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           If the plaintiff would like an electronic copy of this order for use in
   complying herewith, please feel free to call Lisa Richberg at 843-579-1450.
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         2.    List each person and state the alleged misconduct and basis of liability of

               each person.

         3.    List the alleged wrongdoers, other than the persons listed above, and state

               the alleged misconduct of each wrongdoer.

         4.    List the alleged victims and state how each victim was allegedly injured.

         5.    Describe in detail the pattern of racketeering activity or collection of

               unlawful debts alleged for each RICO claim. A description of the pattern

               of racketeering shall include the following information:

               a.     List the alleged predicate acts and the specific statutes which were

                      allegedly violated;

               b.     Provide the dates of the predicate acts, the participants in the

                      predicate acts, and a description of the facts surrounding the

                      predicate acts;

               c.     If the RICO claim is based on the predicate offenses of wire fraud,

                      mail fraud, or fraud in the sale of securities, the "circumstances

                      constituting fraud or     mistake shall be stated in particularity." Fed.

                      R. Civ. P. 9(b). Identify the time, place and contents of the

                      alleged misrepresentations, and the identity of persons to whom

                      and by whom the alleged presentations were made;

               d.     State whether there has been a criminal conviction for violation

                       of the predicate acts;




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               e.     State whether civil litigation has resulted in a judgment with

                      regard to the predicate acts; and

               f.     Describe how the predicate acts form a "pattern of racketeering

                      activity."

                      1)      State whether the alleged predicate acts relate to

                              each other as part of a common plan. If so, describe

                              in detail.

                      2)      State whether the alleged predicate acts show

                              continuity of racketeering activity, or the threat of

                              continuing racketeering activity. If so, describe in

                              detail.

         6.    Describe in detail the alleged enterprise for each RICO claim. A

               description of the enterprise shall include the following information:

               a.     State the names of the individuals, partnerships, corporations,

                      associations, or other legal entities, which allegedly constitute the

                      enterprise;

               b.     Describe the structure, purpose, function and course of conduct

                      of the enterprise;

               c.     State whether any defendant is an employee, officer or director

                      of the alleged enterprise;

               d.     State the manner in which each defendant is associated with

                      the alleged enterprise;


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               e.      State whether you are alleging that the defendants are individuals or

                       entities separate from the alleged enterprise, or that any defendant is

                       the enterprise itself, or a member of the enterprise; and

               f.      If any defendant is alleged to be the enterprise itself, or a member

                       of the enterprise, explain whether such a defendant is a

                       perpetrator, a passive instrument, or a victim of the alleged

                       racketeering activity.

         7.    State and describe in detail whether you are alleging that the pattern of

               racketeering activity and the enterprise are separate or have merged into

               one activity.

         8.    Describe the alleged relationship between the activities of the enterprise

               and the pattern of racketeering activity. Discuss how the racketeering

               activity differs from the usual and daily activities of the enterprise, if at all.

         9.    Describe what benefits, if any, the alleged enterprise receives from the

               alleged pattern of racketeering.

         10.   Describe the effect of the activities of the enterprise on interstate or foreign

               commerce.

         11.   If the complaint alleges a violation of 18 U.S.C. § 1962(a), provide the

               following information:

               a.      State who received the income derived from the pattern of

                       racketeering activity or through the collection of any

                       unlawful debt; and


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               b.      Describe the use or investment of such income.

         12.   If the complaint alleges a violation of 18 U.S.C. § 1962(b), describe in

               detail the acquisition or maintenance of any interest in or control of the

               alleged enterprise.

         13.   If the complaint alleges a violation of 18 U.S.C. § 1962(c), provide the

               following information:

               a.      State who is employed by or associated with the enterprise;

               and

               b.      State whether the same entity is both the liable "person" and

                       the enterprise under § 1962(c).

         14.   If the complaint alleges a violation of 18 U.S.C. § 1962(d), describe in

               detail the facts showing the existence of the alleged conspiracy.

         15.   Describe the alleged injury to business or property.

         16.   Describe the direct causal relationship between the alleged injury and the

               violation of the RICO statute.

         17.   List the damages sustained by reason of the violation of § 1962, indicating

               the amount for which each defendant is allegedly liable.

         18.   List all other federal causes of action, if any, and provide the relevant

               statute numbers.

         19.   List all state claims, subject to the supplemental jurisdiction of this court, if

               any.




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          20.    Provide any additional information that you feel would be helpful to the

                 court in evaluating your RICO claims.

          AND IT IS SO ORDERED.


                                               David C. Norton
                                               United States District Judge

   December 5, 2018
   Charleston, South Carolina




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